95 F.3d 42
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Robert Louis JORDAN, Defendant-Appellant.
    No. 96-6229.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  August 22, 1996.Decided:  September 3, 1996.
    
      Robert Louis Jordan, Appellant Pro Se.  Marvin Jennings Caughman, Assistant United States Attorney, Columbia, South Carolina, for Appellee.
      Before RUSSELL, HALL, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his 28 U.S.C. § 2255 (1988) motion.  We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.  Accordingly, we deny a certificate of appealability and dismiss on the reasoning of the district court.  United States v. Jordan, Nos.  CR-94-163;  CA-94-2612-3-19BC (D.S.C. Dec. 12, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    